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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

GEORGE CLINTON, et al.,

Plaintiffs,
Vv. CASE NO. 4:99cv242-RH
ARMEN BOLADTIAN, et al.,

Defendants.

ORDER FOR ENTRY OF JUDGMENT ON COUNTERCLAIM

This matter is before the court on the parties’
Stipulated Voluntary Dismissal of Counterclaim Without
Prejudice (document 76). Judgment was previously entered
dismissing plaintiffs’ complaint with prejudice. Pursuant
to the parties’ stipulation,

IT IS ORDERED:

The clerk shall enter judgment stating, “Defendants’

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counterclaim is dismissed without prejudice pursuant to
Federal Rule of Civil Procedure 41(a).” The clerk shall
close the file.

SO ORDERED this Lo aay of February, 2001.

Maer bw

‘Robert L. Hinkle
United States District Judge

